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                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES - GENERAL


Case No.: CV 21-07663 SB (ADSx)                                 Date:    November 24, 2021


Title:    Securities and Exchange Commission v. VerdeGroup Investment Partners,
          Inc. et al


Present: The Honorable        STANLEY BLUMENFELD, JR., U.S. District Judge
                   Victor Cruz                                        N/A
                   Deputy Clerk                                  Court Reporter

    Attorney(s) Present for Plaintiff(s):             Attorney(s) Present for Defendant(s):
                  None Appearing                                None Appearing

Proceedings:         [In Chambers] ORDER TO SHOW CAUSE RE DISMISSAL
                     FOR LACK OF PROSECUTION

        Plaintiff is hereby ordered to show cause in writing by not later than
  December 10, 2021 why this action should not be dismissed for lack of
  prosecution.

         The court will consider the filing of the following as an appropriate response
  to this Order to Show Cause, on or before the above date:

           !       the filing of a motion for entry of default judgment;

        In accordance with Rule 78 of the Federal Rules of Civil Procedure and
  Local Rule 7-15, no oral argument of this matter will be heard unless ordered by
  the court. The Order will stand submitted upon the filing of the response to the
  Order to Show Cause. Failure to respond to the court's order shall result in the
  dismissal of this action.
            The Court VACATES the Order to Show Cause, Dkt. No. 16, filed 11/03/2021.

  CV-90 (12/02)                       CIVIL MINUTES – GENERAL           Initials of Deputy Clerk VPC

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